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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 CHRIS JOHNSON,
                                                  Case No. 4:15-cv-00238-BLW
                      Plaintiff,

        v.                                        JUDGMENT

 BEEHIVE FEDERAL CREDIT UNION;
 ADVANTAGE PLUS FEDERAL CREDIT
 UNION; CAPITAL EDUCATORS
 FEDERAL CREDIT UNION;
 CONNECTIONS CREDIT UNION;
 CORNERSTONE CREDIT UNION;
 IDAHO STATE FEDERAL CREDIT
 UNION; LEWIS CLARK CREDIT UNION;
 IDAHO CREDIT UNION LEAGUE, INC.;
 LEAGUE SERVICES, INC.; SHANE
 BERGER; BRENT NEIBAUR; TODD
 ERICKSON; PATRICK VAUGHN;
 PAULA REEDY; ROBERT TAYLOR;
 VALERIE GUENTHER; DR. JANE
 CLARK; DR. LARRY NEZNANSKI;
 DENNIS LUVAAS; JANE KINN BUSER;
 AND BARBARA OLIC-HAMILTON,

                      Defendants.


       In accordance with the Order issued concurrently herewith,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment be

entered and that this case be dismissed in its entirety, with prejudice.




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      Case 4:15-cv-00238-BLW Document 26 Filed 05/04/16 Page 2 of 2



                                       DATED: May 4, 2016


                                       _________________________
                                       B. Lynn Winmill
                                       Chief Judge
                                       United States District Court




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